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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

DENISHA M. SEALS,                       )
     PLAINTIFF                          )     CASE NO. 8:22-cv-00420
                                        )
VS.                                     )     PLAINTIFF’S INITIAL
                                        )     DISCLOSURES
BOARD OF REGENTS OF THE                 )
UNIVERSITY OF NEBRASKA, AND             )
MARGARETTE CHRISTENSEN, PHD.,)
     DEFENDANTS                )
                               )
                               )
                               )

       COME NOW the Plaintiff pursuant to NECivR 26.1, and provide notice to the
Court and to Defendants that on September 28, 2023, they served Plaintiff’s Initial
Disclosures, by sending the same via email, to Defendants, by and through their
attorney, Tara A. Stingley, tstingley@clinewilliams.com
Dated this 28th day of September 2023

      Dated this 28th day of September, 2023.

                                        DENISHA M. SEALS, Plaintiff
                                        Respectfully submitted,

                                        BY: ___/s/ John D. Cartier_/s/__
                                             John D. Cartier #26307
                                             Cartier Law
                                             PO Box 5241
                                             Lincoln, Nebraska 68505
                                             (954) 319-9832
                                             johncartierlaw@gmail.com
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                              CERTIFICATE OF SERVICE
I, John D. Cartier, hereby certify on September 28, 2023, I electronically filed the
foregoing document with the Clerk of the United States District Court using the
CM/ECF system, which sent notification of such filing to the following:
             Tara A. Stingley
             tstingley@clinewilliams.com
             Counsel for the Defendant

                                                 ___/s/ John D. Cartier_/s/__
                                                John D. Cartier #26307
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                                                Lincoln, Nebraska 68505
                                                (954) 319-9832
                                                johncartierlaw@gmail.com




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